        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 1 of 11




 AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A CRIMINAL COMPLAINT

       I, Special Agent Tawnya Valdes, being duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

       1.      I am a Special Agent with the U.S. Social Security Administration (“SSA”), Office

of the Inspector General (“OIG”), where I have been employed since August 2014. I am assigned

to the Office of Investigations, Boston Field Division, where I am responsible for conducting

investigations related to violations of the laws of the United States, including federal benefit fraud,

identity theft, and other offenses affecting program integrity at SSA.            I have experience

investigating SSA employees alleged to have engaged in criminal conduct in the course of their

employment. My formal law enforcement training includes successfully completing the Criminal

Investigator Training Program and the Inspector General Investigator Training Program at the

Federal Law Enforcement Training Center in Glynco, Georgia.

       2.      Prior to my tenure as a Special Agent, I was employed as a Claims Representative

at SSA for four years. My education includes a Bachelor of Science degree in Criminal Justice

and a Master of Arts degree in Criminal Justice from the University of Massachusetts in Lowell,

Massachusetts.

       3.      I am submitting this affidavit in support of a criminal complaint charging Dae Sung

KIM (YOB 1989) with one count of attempting to induce a person to travel in interstate commerce

to engage in prostitution, or in any sexual activity for which a person can be charged with a criminal

offense, in violation of 18 U.S.C. § 2422(a).

       4.      The statements in this affidavit are based in part on information provided by federal

agents and law enforcement officers; written reports about this investigation that I have received,

directly or indirectly, from other law enforcement agents; my personal observations; review of



                                                  1
        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 2 of 11




records; independent investigation and analysis by federal agents/analysts; and my experience,

training, and background as a Special Agent with SSA-OIG.

       5.      Because this affidavit is being submitted for the limited purpose of securing a

complaint, I have not included every fact known to me concerning this investigation. I have set

forth only information that I believe is necessary to establish probable cause to believe that KIM

violated 18 U.S.C. § 2422(a). Where statements of others are set forth in this affidavit, they are

set forth in substance and in part, and not verbatim, unless indicated otherwise.

                            STATEMENT OF PROBABLE CAUSE
       6.      On Friday, March 8, 2024, at approximately 3:53 p.m., INDIVIDUAL 1 visited the

Gardner, Massachusetts Field Office of the SSA to report that she had just lost her job and was

seeking Social Security benefits. KIM was employed at the Field Office as an SSA Claims

Specialist, and met with INDIVIDUAL 1 from approximately 3:56 p.m. to 4:15 p.m. KIM queried

INDIVIDUAL 1’s Social Security file on a SSA computer system, which contained contact

information for INDIVIDUAL 1, including her phone number and home address in New

Hampshire. KIM provided INDIVIDUAL 1 with forms to complete, but redirected her to a New

Hampshire SSA Field Office for processing because of her residence in that state.

       7.      That same day, at approximately 4:37 p.m., INDIVIDUAL 1 missed a call on her

cell phone from a number with a caller ID indicating “[First Name] Kim, Worcester, MA XXX-

XXX-6267,” later identified as KIM’s cell phone.1 At approximately 4:38 p.m., INDIVIDUAL 1

received another call on her cell phone from the same number, and she picked up the call.

INDIVIDUAL 1 recognized the voice of the caller as the same as the SSA employee – KIM –


1
 The name on the caller ID, which is known to law enforcement, is the same name as one of KIM’s
relatives. The phone number appearing on the caller ID, ending in -6267, is known to law
enforcement. It is the same phone number as is listed on forms in KIM’s SSA employee file, and,
as described near the end of this affidavit, KIM has acknowledged that this is his phone number.
                                                 2
        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 3 of 11




whom she had spoken with earlier that afternoon. During the call, KIM indicated that he

understood that INDIVIDUAL 1 was in a difficult situation, and that maybe they could work

something out that would benefit them both. INDIVIDUAL 1 declined KIM’s overture, and KIM

concluded the call by telling INDIVIDUAL 1 that she could call him anytime.

       8.      On March 11, 2024, INDIVIDUAL 1 accidentally dialed KIM at the -6267 phone

number and immediately hung up. She then received a text message from KIM from that same

number that read, “Hi did you call me?”

       9.      On March 15, 2024, INDIVIDUAL 1 identified KIM, from KIM’s Massachusetts

driver’s license photograph, as the SSA employee whom she met with on March 8, 2024.

       10.     On March 15, 2024, in a conversation monitored by law enforcement,

INDIVIDUAL 1 texted KIM at the -6267 phone number, “Hey it’s me. Remember me?” KIM

replied, “Yess of course! [INDIVIDUAL 1] right? How are u?” INDIVIDUAL 1 replied, “Good

how are u.” KIM replied, “I’m doing good..jus working righ now.” INDIVIDUAL 1 texted, “Must

be nice.” KIM replied, “Yea it’s been a long week soo I’m excited to head out soon…is everything

ok?” INDIVIDUAL 1 texted, “Yes rough week.” KIM texted, “Ohh noo im sorry to hear

that…Would you be open to having some fun for $.” INDIVIDUAL 1 replied, “Tell me more.”

KIM replied, “Do u have a spot where we can be alone?” INDIVIDUAL 1 texted, “What are we

gonna do?” KIM replied, “I was just seeing if u were just looking to have some fun. It’s okay just

forget bout it hehe.” INDIVIDUAL 1 replied, “Ok. . . . . Don’t be shy now.” KIM replied, “Why

are u interested?” INDIVIDUAL 1 replied, “I could be.” KIM replied, “Ok u lemme know

then..maybe we can help each other out ͧ
                                       ͪ” and added, “do u use any bc.”
                                       ͩ
                                       ͨ

       11.     On March 20, 2024, in a consensually monitored and recorded phone call,

INDIVIDUAL 1 spoke with KIM over the phone. KIM asked INDIVIDUAL 1 if she had thought


                                                3
           Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 4 of 11




about meeting up with him to “hook up.” He then clarified and asked if she “wanted to have sex.”

KIM again stated they could “help each other out” by giving INDIVIDUAL 1 money.

INDIVIDUAL 1 told KIM that she needed to make a deal before she saw him, and KIM replied

“Well right, of course.” INDIVIDUAL 1 asked about the status of her Social Security benefits,

and KIM suggested that INDIVIDUAL 1 would need to go to the SSA Field Office in a particular

town (in New Hampshire) where INDIVIDUAL 1 was residing. INDIVIDUAL 1 asked what she

needed to do for the money, how much, and KIM replied, asking “Well I don’t know are you open

to f**k?”2 INDIVIDUAL 1 answered yes, and asked, “how much money are we talking?” KIM

replied, “I don’t know like a hundred bucks.” KIM asked if INDIVIDUAL 1 was looking for

more. INDIVIDUAL 1 suggested $500, and KIM stated that that was “a little bit more than he

was anticipating.” KIM asked, “Would it be good?” KIM asked if INDIVIDUAL 1 used birth

control, and confirmed that that was what he had referred to in his earlier text message mentioning

“bc.” When INDIVIDUAL 1 replied that she was on birth control, KIM asked if she would let

him ejaculate inside her. INDIVIDUAL 1 asked KIM if Saturday could work. KIM stated he

could not do Saturday, and then indicated he did not know if he could do that much money. Then

KIM asked if INDIVIDUAL 1 could do $200. INDIVIDUAL 1 replied $300. KIM explained that

he would “love to,” but that he needed to “budget” for that cost. KIM stated if he had the money

he would “be down to do it right now,” but they might have to “hold for a little bit” until he could

get the money. KIM asked again if INDIVIDUAL 1 could do it for $200, and INDIVIDUAL 1

suggested that she give him more time to come up with the money, which KIM agreed to. KIM

added that he did not have a place where there would be privacy, so he would also have to pay for

a room. KIM stated that “if I do come up with the money, I’ll definitely let you know.”



2
    In this affidavit, the symbol “*” is used instead of letters in certain explicit words.
                                                     4
        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 5 of 11




       12.     Later in the day on March 20, 2024, KIM texted from the -6267 phone number to

INDIVIDUAL 1, “So ur telling me that ull let me c*m inside u as good as I want?”

       13.     Following the phone conversation and text messages described above, on June 24,

2024, an SSA-OIG agent acting in an undercover capacity (“the UC”) began contacting KIM by

phone. The UC texted KIM at the -6267 phone number, telling him that the UC was INDIVIDUAL

1, and that she was using a different phone number, as she had obtained a new phone. KIM

responded, in part, “Its been awhile since i heard from yaa.” The UC texted, “Yaaa things have

been kinda crazy and stressful.” KIM responded, “Ohh jeez im sorry to hear thatty That.” The

UC texted, “sucks, money stuff ya know.” KIM said, “Yeah I can def understand that.” KIM

texted, “I wish we could help each other out but i really cant be spending that much just for thatt.”

The UC replied, “Just for what!” KIM said, “To hook up.”

       14.     On June 25, 2024, the UC texted, “Hey How are you?” KIM responded, “Hi im

good how are u.” The UC responded, in part, “i am still looking for a job.” KIM texted, on June

26, 2024, “What kind of job are u lookin for.” The UC responded, “Anything really, just trying to

make ends meet.” KIM replied, “Would u be open to do a quickie sometime for some extra

money.” When asked what he wanted to do, KIM replied, “Like to hook up;” “A creampie;” and,

“Pretty much what we talked about last time.”

       15.     KIM continued to text the UC on June 27, 2024, and July 1, 2024, asking when the

UC would be free and alone, suggesting, “Maybe i can grab a room sometime if ur down” and

telling the UC what he was planning to do to her sexually. On July 1, 2024 and July 2, 2024, KIM

texted the UC asking repeatedly for pictures of her breasts, which the UC declined. On July 2,

2024, KIM texted the UC a message that the UC did not respond to. Then, on July 8, 2024, the

UC texted KIM about meeting the following week. In response, KIM, on July 8, 2024, temporarily



                                                 5
        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 6 of 11




broke off contact, stating that he was “not even interested anymore . . . [c]uz u don’t know how to

respond back.” The UC sent three follow-up text messages on July 8, 2024, July 9, 2024 and July

10, 2024, requesting clarification.

       16.     There were no further text messages between KIM and the UC until August 16,

2024, when KIM, unprompted, texted the UC, “Hi sorry i havent been around…ive been wanting

to meet up with u but I have to take care of some things first but hopefully soon.” The UC replied,

“Hey. ok cool. When do you think u will want to meet up?” KIM replied, “I dont think ill be able

to grab a room till next month but we could meet up sooner and chill for a lil if maybe u know a

place we can park and have some privacy.” After more back and forth in which the UC indicated

that she did not want to meet near where she lived, KIM texted, “Ok i can try to figure something

out…maybe if u wanted we can just park somewhere discreet and just have a lil fun and then

maybe the next time we can grab a room and have some real fun.”

       17.     On August 25, 2024, at 12:25 a.m., KIM texted, “U around tnite?” and the UC

replied at 9:06 a.m., texting that she had been asleep and would be away for a week, but would be

interested in meeting the following week. KIM replied, “Yea sounds good,” and added that he was

looking forward to making the recipient of the texts have an orgasm. On August 26, 2024, KIM

asked, “So u wont be around tmw?” and “Wanna meet during my lunch maybe?” which the UC

declined, and KIM added “Ur on birth control righ?” The UC texted KIM that they should “talk

about $$ too.” KIM responded, “Ok.” Then, on August 29, 2024, KIM texted, “Sorry i wont be

able to meet up next week…its jus not a good time righ now…maybe in a month or 2.”

       18.     On September 10, 2024, the UC texted KIM, stating, “[W]as thinking about when

we can meet up.” KIM replied, “Maybe sometime next week after I get outta work…what area do

u live around.” The UC replied that she could meet, but not near where she lived. KIM texted,



                                                6
        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 7 of 11




“We can just meet somewhere in Leominster after work…and maybe have some quick fun.” The

UC texted, “Well what are u thinking for $ too? That might make me a little friskier too.” KIM

stated, “im not really trying to doo too much…I just figured we can meet up…kiss and maybe play

with each other a lil bit but figure we can see if the chemistry would be good for next timee when

we actually do have some privacy…i mean we can only doo soo much in a car..I can give u some

money but im not really too sure how much ur looking to get…”

       19.     The UC replied, “Honestly that sounds really good to me, would love to mess

around a little bit before we get a room later. And anything would be good $ wise, things r just

tight for me so anything could help.” KIM replied, “Yea i hear ya…things are tight for me too

otherwise i would see if ur around righ noww.”

       20.     On September 10, 2024, September 12, 2024, September 13, 2024, and September

16, 2024, KIM texted the UC, asking her for pictures, which the UC declined.

       21.     On September 23, 2024, the UC texted, “Ok u good with meeting after work next

week for some fun in leominster? I could really use some money…” KIM replied, “Yea we can

do that. .would u be able to send at least one pic for me? U don’t have to show ur face but I would

love to see ur t**s.” The UC declined to send a picture.

       22.     On September 24, 2024, the UC wrote, “Did you find a spot that is private for us to

have fun ?? Ill have to figure out time to leave etc. since im coming from my house in New

Hampshire.” KIM replied, “No not yet we will chat next week.”

       23.     On September 30, 2024, the UC wrote, “Hi…how r u?” KIM replied, “Hiii im ok...

dont think I cant meet up this or next week but realistically towards the end of October…had to

take care of come s**t soo I dont really have alot now.” The UC replied, “Do u mean money?”

and “What were u thinking ?” KIM replied, “Yea.” The UC replied, “Ok how much were you



                                                 7
          Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 8 of 11




thinking when we meet? Honestly anything will help.” KIM replied, “Would you be able to send

me a pic” and “I was thinking 100 for a lil quick fun in the car to see if u like it and then can talk

about getting a room.” The UC asked, “Ok tell me what quick fun is ͧ
                                                                   ͪ,” and KIM replied,
                                                                   ͩ
                                                                   ͨ

indicating that he meant sexual intercourse.

         24.     On October 9, 2024, KIM proposed meeting, “Fri?,” “430-5,” and added, “And yes

we can park at the great wolf lodge its big and secluded there.”3 The UC replied, saying, among

other things, “I will see about Friday. Ill let u know. If not u good with Tuesday?´

         25.     On October 10, 2024, the UC texted KIM, “Meet me tomorrow sexy. I got someone

to watch my kid around 5.” KIM replied, “Ok wanna meet there around then.” The UC replied,

“Ya im coming from my house in NH so let me know the time to leave…great wolf lodge parking

lot right?” KIM replied, “So prob 530-6.”

         26.     On October 10, 2024, the UC texted, asking, “What car you driving? And what u

want me to wear for u.” KIM texted, “Wear sweatpants so u can put on ur clothes quickly if u

need to. Blueish grey honda truck…there is space in the back…” The UC said, “Perfect ͧ
                                                                                     ͪ” and
                                                                                     ͩ
                                                                                     ͨ

“Dont forget my 100 cash. Im going to make it soooo worth your while baby.” KIM replied, “Ok

baby…”

         27.     On October 11, 2024, KIM texted the UC, “Tell me how bad u want it.. and tell me

what u want me to do when i see u.” Approximately an hour later, KIM texted, “Not feeling too

good today . . had a hard time sleeping last nite. . any way we can reschedule for tues?” The UC

texted KIM, “Ohhh nooo. . .it going to be hard for me to find someone to watch kid. U sure u cant

tonite? Was reallly looking forward to feeling u.” KIM responded, “Ok I wikl try.” The UC texted

in response, among other things, “im going to make u feel soooo good I promiseWhen will u know


3
    The Great Wolf Lodge is an indoor water park and hotel in Fitchburg, Massachusetts.
                                                  8
        Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 9 of 11




for sure. Im coming from NH so i have to make sure I leave on time.” KIM stated, “We can meet

up around 530-6.” After KIM sent some additional explicit messages, KIM texted, “Make sure u

wear someLoose sweatpants soo u can quickly change if needed lol.”

       28.     At approximately 4:27 p.m. on October 11, 2024, KIM texted, “Leaving work soon.

. gonna grabe a bite to eat and stop by walmart to grab some things soo did u wanted to meet

towards 6.” The UC responded, “That’s perfect cant wait to see u.” At approximately 5:15 p.m.,

the UC texted, “Leaving my house in NH now baby.” KIM responded, “Ok baby… cant wait to

freakin seee uu.” At approximately 5:57 p.m., the UC texted, “Im getting close r u there yet?

Where should I go.” KIM responded at approximately 5:59 p.m., “Leaving gardner now so I

shouldnt be long. . jus park somewhere and jus tell me what kind of car u drivr.” At approximately

6:09 p.m., the UC texted KIM that she had arrived at the parking lot, described where she parked,

and what her car looked like. At approximately 6:16 p.m., KIM texted, “im in the parking lot.”

       29.     KIM arrived at the agreed upon location at approximately 6:17 p.m. Law

enforcement agents approached and interviewed KIM. KIM confirmed that his phone number was

the -6267 number identified above. Initially, KIM denied accessing SSA computer systems for his

personal use, including to obtain contact information such as addresses, phone numbers, or other

personally identifiable information of any SSA beneficiary, or using such information to contact

any beneficiary for personal reasons.

       30.     KIM acknowledged knowing INDIVIDUAL 1 and calling her from his personal

cell phone in March 2024. At first, KIM claimed that INDIVIDUAL 1 gave him her phone number,

but said he was not sure how. KIM stated he remembered INDIVIDUAL 1 coming into the

Gardner SSA field office and that she was “upset about her payments or something” and that “I

did get her phone number and I told her that I could give her some money to help her out.” When



                                                9
       Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 10 of 11




asked again how he got the phone number, KIM amended his earlier statement and said, “I think I

got that from the [SSA] computer.” He said he was not sure which SSA system he accessed to get

her phone number, but “maybe VIP [Visitor Intake Program].” KIM also acknowledged that he

started texting INDIVIDUAL 1 around this time.

       31.     When asked why KIM initially called INDIVIDUAL 1, he stated, “she was upset

and she was talking about how she was in a tough situation with her kids, so I just kind of felt bad

for her.” When asked why he was in the parking lot that night, KIM stated he was there “to meet

up with INDIVIDUAL 1” and “to possibly hook up.” When asked if he thought that he was going

to be paying INDIVIDUAL 1 money for sex that night, KIM nodded in the affirmative. He also

stated in response to questioning that he had brought $200 in cash with him. In response to

additional questions, KIM stated that he was aware that INDIVIDUAL 1 “lived out of state”

because she had told him, and that, although he was “not too sure,” she was “maybe [in] New

Hampshire.”

                 [REMAINDER OF PAGE LEFT INTENTIONALLY BLANK]




                                                10
       Case 4:24-mj-04471-DHH Document 3-1 Filed 10/18/24 Page 11 of 11




                                         CONCLUSION

       32.     Based on all of the foregoing information, I submit that there is probable cause to

believe that from on or about March 8, 2024 through on or about October 11, 2024, KIM

knowingly attempted to induce an individual to travel in interstate commerce to engage in

prostitution, or in any sexual activity for which a person can be charged with a criminal offense,

in violation of Title 18, United States Code, Section 2422(a).

                                                             Respectfully submitted,

                                                             _________________________
                                                             Tawnya Valdes
                                                             Special Agent, SSA-OIG


Sworn to before me telephonically in accordance with Fed. R. Crim. P. 4.1 on Oct 18, 2024

                                                            11:32 a.m.

________________________________
                _____ ______ _________
HONORABLE DAVID AVIVID D H.
                          H H HENNESSY
                                ENNE
                                EN N S
United States Magistrate
                giist
                   s ra
                      r te
                        te JJudge
                             uddge




                                                11
